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Case 1:03-md-01570-GBD-SN Document 2169 Filed DEYCAIMENT 1 of 1
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Honorable George B. Daniels mpewers@bakerlaw.com

United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street, Room 630
New York, NY 10007

RE: IN RE: TERRORIST ATTACKS ON SEPTEMBER 11, 2001- 03 MD
1570 (GBD) (FM)

Dear Judge Daniels:

My firm, and the undersigned represented Defendant Republic of iraq in the
following three matters. We filed a Notice of Withdrawal on May 9, 2008, but still
receive electronic notices and filings in these cases. We respectfully request, again, that

my name be removed from the ECF notifications for each of these cases:

1. New York Marine and General Insurance Co. v. Al Qaida, et al., Civil Action
No. 1:04-CV-06105-RCC

2. Federal Insurance, et al. v, Al Qaida, et al., Civil Action No. 1:03-CV-06978-
RCC

O'Neill v. The Republic af frag, Civil Action No. 04-CV-01076-RCC

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if you have any questions, please contact me at (212) 589-4216.

Respectfully Submitted,

Dp, fae

Marc D. Powers

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